                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )      Case No. 1:18-CR-11
 v.                                                    )
                                                       )      JUDGES MATTICE/STEGER
 JERRY WAYNE WILKERSON,                                )
 MICHAEL CHATFIELD,                                    )
 KASELY NICHOLSON,                                     )
 BILLY HINDMON, and                                    )
 JAYSON MONTGOMERY                                     )

                           DISCOVERY AND SCHEDULING ORDER

       If the parties in this action have not already done so, they shall within fourteen (14) days

 from the date of the entry of this order on the docket confer and the following shall be

 accomplished:

       A. Upon request of the defendant, the government shall permit the defendant to
       inspect and copy the following items or copies thereof, or supply copies thereof,
       which are within the possession, custody or control of the government, the
       existence of which is known or by the exercise of due diligence may become
       known to the attorney for the government:

                 1. Any relevant written or recorded statements made by the
                 defendant.

                 2.   The defendant's arrest and conviction record.

                 3. Results or reports of physical or mental examinations, and of
                 scientific tests, including, without limitation, any handwriting
                 analysis or experiments, which are material to the preparation of
                 the defense or are intended for use by the government as evidence
                 in chief at the trial.

       B. Upon request of the defendant, the government shall permit the defendant to
       inspect and copy the following items or copies thereof, or supply copies thereof,
       which are within the possession, custody or control of the government, or the
       existence of which is known or by the exercise of due diligence may become
       known to the government:

                 1. The substance of any oral statement made by the defendant
                 before or after his arrest in response to interrogation by a then
                 known to be government agent which the government intends to



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              offer in evidence at trial.

              2. Recorded grand jury testimony of the defendant relating to the
              offenses charged.

              3. Books, papers, documents, photographs, tangible objects,
              buildings or places which the government intends to use as
              evidence at trial to prove its case in chief, or were obtained from or
              belong to each defendant.

       C. Upon receipt by a defendant of materials in A(3) or B(3) from the
       government, the defendant shall permit the government to inspect and copy the
       following items, or copies thereof, or supply copies thereof, which are within the
       possession, custody or control of the defendant, the existence of which is known
       or by the exercise of due diligence may become known to the defendant:

              1. Books, papers, documents, photographs or tangible objects
              which each defendant intends to introduce as evidence in chief at
              trial.

              2. Any results or reports of physical or mental examinations and
              of scientific tests or experiments made in connection with this case
              which the defendant intends to introduce as evidence in chief at
              trial, or which were prepared by a defense witness who will testify
              concerning the contents thereof.

       D. Upon request of the defendant, the government shall disclose to the
       defendant a written summary of all expert testimony the government intends to
       use. This summary shall describe the witnesses' opinions, the bases and reasons
       therefor, and the witnesses' qualifications.

       E. If a defendant intends to rely upon the defense of insanity at the time of the
       alleged crime, or intends to introduce expert testimony relating to a mental
       disease, defect or other condition bearing upon the issue of whether he had the
       mental state required for the offense charged, he shall give written notice thereof
       to the government. This notice shall be given within twenty (20) days of the
       entry of this order.

       F. The government shall obtain the record of prior convictions of any alleged
       informant who will testify for the government at trial so that the record will be
       available to the defendant at trial.

       G. The government shall state whether the defendant was identified in any
       lineup, showup, photo spread or similar identification proceeding, and produce
       any pictures utilized or resulting therefrom.

       H. The government shall advise its agents and officers involved in this case to
       preserve all rough notes.



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        I.   Upon request, the government shall advise the defendant of the general
        nature of any evidence it intends to offer at trial under Rule 404(b), Federal Rules
        of Evidence.

        J. The government shall state whether the defendant was an aggrieved person,
        as defined in 18 U.S.C. ' 2510(11) of any electronic surveillance, and if so, shall
        set forth in detail the circumstances thereof.

        K. Upon request, the government shall provide the defense, for independent
        expert examination, copies of all latent fingerprints or palm prints which have
        been identified by a government expert as those of the defendant.

        L. The parties shall make every possible effort in good faith to stipulate all facts
        or points of law, the truth and existence of which is not contested and the early
        resolution of which will expedite the trial.

        M. The parties shall collaborate in preparation of a written statement to be
        signed by counsel for each side, generally describing all discovery material
        exchanged, and setting forth all stipulations entered into at the conference. No
        stipulation made by defense counsel at the conference shall be used against the
        defendant unless the stipulation is reduced to writing and signed by the defendant
        and his counsel.

        The government shall reveal to the defendant and permit inspection and copying of all

 information and material known to the government which may be favorable to the defendant on

 the issues of guilt or punishment within the scope of Brady v. Maryland, 373 U.S. 83 (1963),

 United States v. Agurs, 427 U.S. 97 (1976) (exculpatory evidence), and United States v. Bagley,

 473 U.S. 667 (1985) (impeachment evidence).         Timing of such disclosure is governed by

 United States v. Presser, 844 F.2d 1275 (6th Cir. 1988).

        It shall be the continuing duty of counsel for both sides to immediately reveal to opposing

 counsel all newly discovered information or other material within the scope of this order.

        Upon a sufficient showing, the Court may at any time, upon motion properly filed, order

 that the discovery or inspection provided for by this order be denied, restricted or deferred, or

 make such other order as is appropriate.   It is expected by the Court, however, that counsel for


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 both sides shall make every good faith effort to comply with the letter and spirit of this order.

 All motions shall be filed in this cause no later than Tuesday, November 20, 2018.              Any

 motion which requires the resolution of an issue of law must be accompanied by a supporting

 memorandum.      Local Rule 7.1 EDTN.        Without such a memorandum, the motion will not be

 considered by the Court.    If either party desires a Daubert hearing regarding expert testimony,

 that party shall notify the Court by Tuesday, November 20, 2018.

        Plea bargaining shall be concluded by Tuesday, December 4, 2018, and any written

 agreement shall be executed by said date.

        All requests for jury instructions shall be submitted no later than Tuesday, November

 20, 2018.    A copy of the prepared jury instructions should be sent as an electronic mail

 attachment     in     WordPerfect       or    Microsoft      Word      compatible      format       to

 mattice_chambers@tned.uscourts.gov.

        A final pretrial conference shall be held before the United States District Judge at 3:00

 p.m. on Monday, December 10, 2018.             Prior to the pretrial conference, the parties shall

 disclose to one another and to the Court, technology they intend to use in the courtroom during

 the trial and how they intend to use it (e.g., display equipment, data storage, retrieval, or

 presentation devices).   This disclosure shall list (1) equipment they intend to bring into the

 courtroom to use, and (2) equipment supplied by the Court the parties intend to use.

        Further, the parties shall disclose to one another the content of their electronic or digital

 materials by the time of the final pretrial conference, and shall confirm the compatibility/viability

 of their planned use of technology with the Court's equipment by the final pretrial conference.

 General information on equipment supplied by the Court is available on the Eastern District of

 Tennessee website (www.tned.uscourts.gov).            Specific questions about Court-supplied


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 equipment should be directed to the courtroom deputy (directory available on website).

           The trial of this case will be held before the United States District Judge and a

 twelve-person jury beginning Tuesday, December 18, 2018.             Counsel shall be prepared to

 commence trial at 9:00 a.m. on the date which has been assigned. If this case is not heard

 immediately, it will be held in line until the following day or anytime during the week of the

 scheduled trial date.

           One principal purpose of this discovery order is to avoid the necessity of counsel for the

 defendant(s) filing routine motions for routine discovery.          Accordingly, counsel for the

 defendant(s) shall make a request of the government for each item of discovery sought and be

 declined the same prior to the filing of any motion.     Further, any motion filed on behalf of the

 defendant(s) shall include an accompanying certification by counsel for the defendant(s) that

 either:

           (1) The item of discovery sought in the motion is not included in or covered by this

 discovery order; that a formal request for the item has been made to the government, and the

 government has declined the request, or

           (2) The item of discovery sought in the motion is included in or covered by this

 discovery order; that a formal request for the item has been made to the government, and the

 government has declined the request.

           Sanctions may be imposed for failure to follow this procedure.

           SO ORDERED.



                                                CHRISTOPHER H. STEGER
                                                UNITED STATES MAGISTRATE JUDGE



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